        Case
        Case 2:21-cv-01498-JFC
             2:21-mc-01230-JFC Document
                                Document16
                                         2 Filed
                                           Filed 10/20/21
                                                 10/20/21 Page
                                                          Page 11 of
                                                                  of 55


                                                                                       CERTIFIED FROM THE RECORD


                                   UNITED STATES JUDICIAL PANEL                                10/20/2021
                                                on                                           Joshua C. Lewis
                                    MULTIDISTRICT LITIGATION
                                                                                            Sarah M. Sewall
                                                                                                Deputy Clerk



IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3014



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On October 8, 2021, the Panel transferred 10 civil action(s) to the United States District Court for the
Western District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See _F.Supp.3d_ (J.P.M.L. 2021). Since that time, no additional action(s) have been transferred to the
Western District of Pennsylvania. With the consent of that court, all such actions have been assigned to the
Honorable Joy Flowers Conti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Western District of Pennsylvania and assigned to Judge Conti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Western District of
Pennsylvania for the reasons stated in the order of October 8, 2021, and, with the consent of that court,
assigned to the Honorable Joy Flowers Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Western District of Pennsylvania. The transmittal of this order to said Clerk shall be stayed 7
days from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this
7−day period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


                Oct 20, 2021
                                                           John W. Nichols
                                                           Clerk of the Panel
        Case
        Case 2:21-cv-01498-JFC
             2:21-mc-01230-JFC Document
                                Document16
                                         2 Filed
                                           Filed 10/20/21
                                                 10/20/21 Page
                                                          Page 22 of
                                                                  of 55




IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                                MDL No. 3014



                      SCHEDULE CTO−1 − TAG−ALONG ACTIONS



  DIST        DIV.      C.A.NO.      CASE CAPTION


ALABAMA NORTHERN

  ALN          2       21−01009      Davis v. Koninklijke Philips N.V. et al
  ALN          2       21−01010      Davis v. Koninkelijke Philips NV et al
  ALN          5       21−01085      Ballenger v. Koninklijke Philips NV et al

ALABAMA SOUTHERN

  ALS          1       21−00410      Summer v. Koninklijke Philips N.V. et al

ARKANSAS EASTERN

  ARE          4       21−00740      Landers v. Philips North America LLC et al

CALIFORNIA CENTRAL

  CAC          2       21−05793      Lisa Mitrovich v. Koninklijke Philips N.V. et al
  CAC          2       21−07629      Edi Jaen v. Koninklijke Philips N.V. et al
  CAC          2       21−07651      Steven Kipnis v. Koninklijke Philips N.V. et al
  CAC          2       21−07673      Quivandra Lawson v. Koninklijke Philips N.V. et al
  CAC          2       21−07729      Josie Serna−Delgado v. Koninklijke Philips N.V. et al
  CAC          5       21−01636      Dale Cochran v. Koninklijke Philips, N.V. et al

CALIFORNIA NORTHERN

  CAN          3       21−06300      Bastasch et al v. Koninklijke Philips N.V. et al
  CAN          3       21−07580      Hurth v. Koninklijke Philips N.V. et al
  CAN          3       21−07582      Jaquette v. Koninklijke Philips N.V. et al

COLORADO

   CO          1       21−02555      Saunders v. Koninklijke Philips NV et al

GEORGIA MIDDLE

  GAM          1       21−00134      SIZEMORE et al v. KONINKLIJKE PHILIPS N V et al
  GAM          1       21−00177      POWELL v. KONINKLIJKE PHILIPS N V et al
  GAM          5       21−00318      BROOKS v. KONINKLIJKE PHILIPS N V et al
  GAM          7       21−00111      ROGERS et al v. KONINKLIJKE PHILIPS N V et al
         Case
        Case
        Case   MDL No. 3014 Document
             2:21-cv-01498-JFC
             2:21-mc-01230-JFC       21116
                               Document
                                Document 2 Filed
                                            Filed10/20/21
                                             Filed 10/20/21 Page
                                                   10/20/21  Page
                                                             Page3 33
                                                                    ofof
                                                                       5 55
                                                                      of

GEORGIA NORTHERN

  GAN           1       21−03621       Kolodin v. Koninklijke Philips N.V. et al
  GAN           1       21−04016       Mercure et al v. Koninklijke Philips N.V. et al

GEORGIA SOUTHERN

  GAS           1       21−00131       Norman v. Koninklijke Philips N.V. et al
  GAS           4       21−00280       Drake v. Philips et al

INDIANA NORTHERN

  INN           3       21−00652       Lowry et al v. Philips North America, LLC et al

INDIANA SOUTHERN

  INS           1       21−02454       HILL et al v. KONINKLIJKE PHILIPS N.V. et al

KANSAS

   KS           2       21−02396       Thomas v. Koninklijke Philips N.V. et al
   KS           2       21−02405       Scheibel v. Koninklijke Philips N.V. et al
   KS           2       21−02426       Hunter−Blank v. Philips North America LLC et al

KENTUCKY WESTERN

  KYW           3       21−00485       Graham et al v. Respironics, Inc. et al Opposed 10/20/21

LOUISIANA EASTERN

  LAE           2       21−01355       Stewart v. Koninklijke Philips N.V. et al
  LAE           2       21−01472       Walker v. Koninklijke Philips N.V. et al
  LAE           2       21−01769       Cannata v. Koninklijke Philips N.V et al
  LAE           2       21−01770       Freeman v. Koninklijke Philips N.V. et al
  LAE           2       21−01805       Cantrelle et al v. Koninklijke Philips N.V. et al

LOUISIANA MIDDLE

  LAM           3       21−00438       Brown v. Fulton

LOUISIANA WESTERN

  LAW           6       21−03045       Hebert et al v. Koninklijke Philips N V et al
  LAW           6       21−03373       Connolly v. Koninklijke Philips N V et al
  LAW           6       21−03438       Polidore v. Koninklijke Philips N V et al
  LAW           6       21−03447       Ortego v. Koninklijke Philips N V et al

MARYLAND

  MD            1       21−02503       Yu v. Koninklijke Philips N.V. et al

MASSACHUSETTS

  MA            1       21−11130       Hufnus et al v. Koninklijke Philips N.V. et al
  MA            1       21−11132       Ramirez v. Philips North America, LLC et al
  MA            1       21−11142       Swann v. Koninklijke Philips N.V. et al
        Case
        Case 2:21-cv-01498-JFC
             2:21-mc-01230-JFC Document
                                Document16
                                         2 Filed
                                           Filed 10/20/21
                                                 10/20/21 Page
                                                          Page 44 of
                                                                  of 55

  MA           1       21−11150      Algofi et al v. Koninklijke Philips N.V. et al
  MA           1       21−11153      McGuire v. Philips North America, LLC et al
  MA           1       21−11199      Osman et al v. Koninklijke Philips N.V. et al
  MA           1       21−11206      Bartley et al v. Koninklijke Philips N.V. et al
  MA           1       21−11208      Basemore et al v. Koninklijke Philips N.V. et al
  MA           1       21−11221      Feick v. Koninklijke Philips N.V. et al
  MA           1       21−11232      Dedman v. Philips North America LLC et al
  MA           1       21−11239      Martin v. Philips North America LLC et al
  MA           1       21−11265      Allison v. Philips North America LLC
  MA           1       21−11328      Conley et al v. Koninklijke Philips N.V. et al
  MA           1       21−11361      Adkins et al v. Koninklijke Philips N.V. et al
  MA           1       21−11432      Bain et al v. Koninklijke Philips N.V. et al
  MA           1       21−11500      McKinney v. Koninklijke Philips N.V. et al
  MA           1       21−11518      DiMaggio v. Koninkelijke Philips, N.V. et al
  MA           1       21−11557      Petersen v. Koninkelijke Philips, N.V. et al
  MA           1       21−11560      COLUMBUS v. Koninklijke Philips N.V. et al
  MA           1       21−11563      Minder et al v. Koninklijke Philips N.V. et al
  MA           1       21−11598      Murray v. Koninklijke Philips N.V. et al

MINNESOTA

  MN           0       21−01916      Means v. Koninklijke Philips N.V. et al

MISSISSIPPI SOUTHERN

  MSS          2       21−00113      Hancock v. Koninklijke Philips N.V. et al

MISSOURI WESTERN

  MOW          2       21−04173      Bemiss et al v. Koninklijke Philips N.V. et al
  MOW          4       21−00627      James v. Koninklijke Philips N.V. et al
  MOW          4       21−00683      King v. Koninklijke Philips N.V. et al
  MOW          4       21−00684      Holmes v. Koninklijke Philips N.V. et al

NEW JERSEY

   NJ          1       21−16582      DANSKY v. KONINKLIJKE PHILIPS, N.V. et al
                                     HOOD−PENDERGHEST et al v. PHILIPS NORTH
   NJ          1       21−17401      AMERICA LLC et al

NEW YORK SOUTHERN

  NYS          7       21−07613      Bowman v. Koninklijke Philips N.V. et al

OHIO SOUTHERN

  OHS          2       21−04860      Cornwell v. Philips North America, LLC et al

OREGON

   OR          3       21−01174      Miller et al v. Koninklijke Philips N.V. et al

PENNSYLVANIA EASTERN

  PAE          2       21−03412      POWELL, SR. v. KONINKLIJKE PHILIS N.V.
     Case
     Case 2:21-cv-01498-JFC
          2:21-mc-01230-JFC Document
                             Document16
                                      2 Filed
                                        Filed 10/20/21
                                              10/20/21 Page
                                                       Page 55 of
                                                               of 55

  PAE       2       21−04213      Rosner et al v. Philips RS North America LLC et al

TENNESSEE EASTERN

  TNE       2       21−00136      Moore v. Koninklijke Philips, N.V. et al

TEXAS WESTERN

  TXW       1       21−00835      Wheeler v. Philips North America LLC et al
  TXW       3       21−00230      Chavez v. Koninklijke Philips N.V. et al
  TXW       5       21−00921      Tobin v. Koninkelijke Philips, N.V. et al

VIRGINIA EASTERN

  VAE       2       21−00519      Savage v. Koninklijke Philips, N.V., et al.
  VAE       3       21−00526      Van Horn v. Philips North America, LLC et al

WEST VIRGINIA SOUTHERN

  WVS       2       21−00481      Haddix et al v. Koninklijke Philips N.V. et al
  WVS       3       21−00512      Rucker v. Koninklijke Philips N.V. et al
  WVS       3       21−00527      Parker v. Koninklijke Philips N.V. et al
  WVS       5       21−00428      Farmer v. Koninklijke Philips N.V. et al
